            Case 2:16-cv-01554-JCC         Document 269        Filed 02/03/23      Page 1 of 3




 1                                                               The Honorable John C. Coughenour

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 7                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9   BERNADEAN RITTMANN, et al.,
                                                       Consolidated Action
10                                                     Case No. C16-1554 JCC
                       Plaintiffs,
11                                                     DEFENDANTS’ NOTICE OF
     v.                                                WITHDRAWAL
12
     AMAZON.COM, INC., et al.,                         NOTE ON MOTION CALENDAR:
13                                                     February 3, 2023
                       Defendants.
14

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16          TO THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT
17   OF WASHINGTON AND ALL PARTIES AND ATTORNEYS OF RECORD:
18          PLEASE TAKE NOTICE THAT Defendants hereby withdraw their Motion to Dismiss
19   and Strike Portions of Plaintiffs’ Consolidated Class Action Complaint (ECF No. 246) in light of
20   the Plaintiffs’ filing of the First Amended Consolidated Class Action Complaint (ECF No. 262)
21   (“FACC”), which supersedes the Consolidated Class Action Complaint and renders moot the
22   pending Motion. Ramirez v. Cty. of San Bernardino, 806 F.3d 1002, 1008 (9th Cir. 2015)
23   (“Because the [d]efendants' motion to dismiss targeted the [p]laintiff's First Amended Complaint,
24   which was no longer in effect, we conclude that the motion to dismiss should have been deemed
25   moot before the district court granted it.”). Defendants’ withdrawal is without prejudice to their
26   right to respond to the FACC. Defendants will file a motion to dismiss and/or strike the FACC.

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           Case 2:16-cv-01554-JCC   Document 269    Filed 02/03/23       Page 2 of 3




 1   Dated: February 3, 2023               Respectfully submitted,

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            Case 2:16-cv-01554-JCC          Document 269        Filed 02/03/23      Page 3 of 3




 1                                   CERTIFICATE OF SERVICE
 2
            I hereby certify that on February 3, 2023, I caused to be electronically filed the foregoing
 3
     DEFENDANTS’ NOTICE OF WITHDRAWAL with the Clerk of Court using the CM/ECF
 4
     system, which will automatically send email notification of such filing to the registered attorneys
 5
     of record.
 6

 7
                                                          By: s/ Andrew DeCarlow
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